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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
                                                  )   Magistrate Docket No. '23 MJ1795
                          Plaintiff,              )
                                V.                )
                                                  )   COMPLAINT FOR VIOLATION OF:
                                                  )   Title 8, U.S.C. § 1324(a)(l)(A)(i)
                                                  )   Attempted Bringing In Illegal Aliens
                                                  )   At Other Than Port Of Entry
  Tranquilino Martin GALVEZ Gonzalez,             )
                                                  )
  Eleazar BARRERAS-Laurian,                       )
                                                  )
                                                  )
                          Defendants.             )

       The undersigned complainant being, duly sworn, states:

 On or about May 19, 2023, within the Southern District of California, defendants
 Tranquilino Martin GALVEZ Gonzalez and Eleazar BARRERAS-Laurian, with the intent
 to violate the immigration laws of the United States, knowing or in reckless disregard of
 the fact that certain aliens, namely, Reyes GALINDO De Jesus, Ricardo LUNA Bravo, and
 Gustavo Enrique MONTOYA Castillo, had not received prior official authorization to
 come to, enter and reside in the United States, did attempt to bring to the United States said
 aliens at a place other than a designated Port Of Entry or place other than as designated by
 the commissioner; in violation of Title 8, United States Code, Section 1324(a)(l)(A)(i).

 And the complainant further states that this complaint is based on the attached probable
 cause statement, which is incorporated herein by reference.



                                                      SIGNATURE OF COMPLAINANT
                                                      Shawna M. Wilson
                                                      Border Patrol Agent

SWORN AND ATTESTED TO UNDER OATH BY TELEPHONE, IN ACCORDANCE
WITH FEDERAL RULE OF CRIMINAL PROCEDURE 4.1, ON May                         22;wy.
                                                      ~ : / /4/4e/
                                                      HON. DAVID D. LESHNER
                                                      United States Magistrate Judge
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  CONTINUATION OF COMPLAINT:
  Tranquilino Martin GALVEZ Gonzalez,
  Eleazar BARRERAS-Laurian

                               PROBABLE CAUSE STATEMENT
  I declare under the penalty of perjury that the following statement is true anc correct:

  The complainant states that Reyes GALINDO De Jesus, Ricardo LUNA Bravo and Gustavo
  Enrique MONTOYA Castillo are citizens of a country other than the United States; that said
  aliens have admitted that they are deportable; that their testimony is material, that it is
  impracticable to secure their attendance at the trial by subpoena; and they a"·c material witnesses
  in relation to this criminal charge and should be held or admitted to bail pursuant to Title 18,
  United States Code, Section 3144.

  On May 19, 2023~ United States Border Patrol Agents D. Johanson and I\·1. Perez were
  performing their assigned duties in the San Clemente Border Patrol Station':, area of
  responsibility. Agents Johanson and Perez were wearing their agency issued full rough duty
  uniform with all agency badges, patches and insignia visible.

  At approximately 6:00 AM, agents were advised of the United States Coast Guard having
• approximately 15 individuals detained with the suspicion of being involved in a maritime alien
  smuggling event. The individuals were encountered on a vessel at sea, approximately :!3 miles
  west of Carlsbad, California and traveling northbound. At approximately 7: 15 AM, agents
  Johanson and Perez arrived at the Harbor Patrol in Oceanside, California. Cpon arrival, agent
  Perez conducted an immigration inspection of all 15 individuals, to include defendants
  Tranquilino Martin GALVEZ Gonzalez and Eleazar BARRERAS-Laurian. The group of 15
  individuals also included Material Witnesses Reyes GALINDO De Jesus. Ricardo LUNA
  Bravo, and Gustavo MONTOYA Castillo. All individuals stated being citizens of Mexico not in
  possession of proper immigration documents to be enter or remain in the United States legally.
  At approximately 7:20 AM, Agent Perez placed all individuals under arrest.

   At approximately 1:24 PM, defendant GALVEZ was read his Miranda Rights. GALVEZ
   acknowledged his rights and decided to speak with agents without his attorney present.
   GALVEZ stated he was born in Sinaloa, Ivlexico and that he is a citizen and national of Mexico.
   GALVEZ admitted he does not have proper immigration documents to be or remain in the
   United States legally. GALVEZ stated he is a fisherman and diver by trade. GALVEZ stated
   while he was crying to find work in Ensenada, when he ran into an individual. GALVEZ stated
   he made smuggling an·angements with this individual. GALVEZ stated that he was going to be
   charged a smuggling fee of $6500 USD to cross into the United States. This individual offered
   that if GALVEZ became the captain and piloted the boat into the United States, he would not be
   charged the smuggling fee. GALVEZ stated he took the job. GALVEZ stated he was supposed
   to leave from Ensenada, Mexico, however something occurred, and they had to move their
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CONTINUATION OF COMPLAINT:
Tranquilino Martin GALVEZ Gonzalez,
Eleazar BARRERAS-Laurian



operations to Popotla, Mexico. GALVEZ stated he was driven by the individual to Popotla .
Mexico on Thursday, May 18, 2023 at approximately 7:30 PM. GALVEZ stated that he held
onto the global positioning system (OPS) device that was provided by the individual. GALVEZ
stated that all the occupants boarded the boat and they departed at nightfall. GALVEZ stated he
was instructed to fol low the pre-programmed route on the GPS and that he went approximately
82 miles west of Popotla., Mexico. GALVEZ stated that he was to land on a beach in Los
Angeles . Californja. GALVEZ admitted that he knew that he was doing something illegal by
crossing into the United States. GALVEZ acknowledged the responsibility of transporting the
other individuals into the United States. GALVEZ stated he did not know how he and the others
were going to be picked up once they made landfall. GALVEZ stated he saw the lights from the
U.S. Coast Guard boat and flares shot into the air. GALVEZ stated he was scared and decided
to flee and get to land. GALVEZ stated the Coast Guard boat caught up to his boat and shot the
engine. GALVEZ was presented a photographic array labeled "B" depicting each person who
was on the boat. GALVEZ said he did not know anyone on the vessel. GALVEZ was then
presented the Defendant's Statement Concerning Undocumented Aliens known as the Lujan-
Castro form. GALVEZ then recanted his statement of not knowing anyone on the boat and
stated he knows defendant Eleazar BARRERAS-Laurian. GALVEZ stated he has known
BARRERAS for approximately 15 years and that they are both from the same fishing town in
Sinaloa, Mexico. GALVEZ stated that BARRERAS was his assistant and re . . fueler in this event.
GALVEZ was able to identify BARRERA in a photographic line-up.
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CONTINUA1'10~ OF COMPLAINT:
Tranquilino Martin GALVEZ Gonzalez,
Eleazar BARRERAS-Laurian



Material witness. Gustavo Enrique MONTOYA Castillo, stated that he is a citizen of Mexico
without any immigration documents that would allow him to enter in the United States legally.
MONTOYA stated he was aware that he was making an illegal entry into the United States.
MONTOYA stated that his mother made the smuggling arrangements for him and agreed to pay
$12,000 U.S. Dollars. MONTOYA stated that he boarded a vessel in Ensenada~ Mexico along
with several other groups of people. MONTOYA stated there was no food nor water on the
vessel~ and everyone had a life vest on. MONYOY A stated that he heard the Coast Guard vessel
and described seeing the white and blue lights. MONTOYA explained and showed how the
Coast Guard Vessel approached the boat and stated he heard the warning shot from Coast
Guard. MON TOY A stated the captain, GALVEZ, turned the vessel around heading back to
Mexico after seeing the Coast Guard lights. MONTOYA was able to identify defendant
Tranquilino Martin GALVEZ Gonzalez as the captain of the vessel in a photographic line-up.

Executed on May 20, 2023 at 11:00 AM.                        ~
                                                     Jesse Bcirquez
                                                     Border Patrol Agent

On the basis of the facts presented in the probable cause statement consisting of 3 pages, I find
probable cause to believe that the defendant named in this probable cause statement committed
the offense on May 19, 2023, in violation of 8 USC 1324.
          -f_fJ                                         5/20/23 3:52 p.m.
LUPE C. RODRIGUEZ, JR.
                                                     - -------------
                                                     Dateffime
United States Magistrate Judge
